Case 4:15-cv-04136-KES Document 50 Filed 01/25/19 Page 1 of 1 PagelD #: 680

UNITED STATES DISTRICT COURT

 

DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION
SIOUX STEEL COMPANY, a South Civ, 15-4136
Dakota corporation,
Plaintiff,
JOINT MOTION TO DISMISS
Vs.

KC ENGINEERING, P.C., an Iowa
corporation,

Defendant.

 

The parties, by and through their undersigned attorneys, hereby stipulate, agree, and jointly move
this Honorable Court for its Order dismissing this matter on the merits and with prejudice, with no costs
to be awarded to either party.

Dated this 0 ) > of January, 2019. if om
; f/{

( L/ | J >

Mithael F. Tobin

BOYCE LAW FIRM, L.L.P.

300 South Main Avenue

P.O. Box 5015

Sioux Falls, SD 57117-5015

(605) 336-2424

Attorneys for Defendant KC Engineering, P.C.

NA. val

G. Verne Goodsell

Nathan R. Oviatt

GOODSELL QUINN

P.O. Box 9249

Rapid City, SD 57709-9249

(605) 343-3000

Attorney for Plaintiff Sioux Steel Company

 

Dated this iS “ day of January, 2019.
